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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,                      )
                                               )
               Plaintiff,                      )      ORDER APPOINTING COUNSEL
                                               )
       vs.                                     )
                                               )
Sherlet Anetta Love,                           )
                                               )      Case No. 4:12-cr-175
               Defendant.                      )


       Defendant Sherlet Annetta Love is charged by second superseding indictment with forty

counts relating to a mail fraud, wire fraud, and money laundering conspiracy. In February 2013,

defendant was arrested and appeared in the Southern District of Florida where she was ordered

detained for transport to the District of North Dakota. Defendant appeared in North Dakota on

March 21, 2013, and the court appointed attorney Steve Balaban as counsel.                 Defendant

subsequently retained attorney Kent Morrow.

       In October 2013, the court received two letters from Defendant in which she indicated her

intent to terminate Mr. Morrow and requested that the court reappoint counsel as she cannot afford

to retain another attorney. The court finds that Defendant qualifies for court-appointed counsel and

appoints attorney Jeff A. Bredahl to represent Defendant. However, the court notes that Defendant

does not have the right to choose court-appointed counsel and advises that the likelihood of the court

appointing another attorney if Defendant is personally dissatisfied with counsel is highly unlikely

absent extraordinary circumstances. Mr. Morrow is granted leave to withdraw.

       IT IS SO ORDERED.

       Dated this 29th day of October, 2013.
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                             /s/ Charles S. Miller, Jr.
                             Charles S. Miller, Jr., Magistrate Judge
                             United States District Court
